Case 2:21-cv-00111-JRG-RSP Document 67 Filed 01/18/22 Page 1 of 3 PageID #: 1102




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

  FIRTIVA CORPORATION                             §
                                                  §
               Plaintiff,                         §
         v.                                       §
                                                             Case No. 2:21-CV-0111-JRG-RSP
                                                  §
  FUNIMATION GLOBAL GROUP, LLC,                   §
                                                  §
               Defendant.                         §

                            JOINT NOTICE REGARDING MEDIATION

         Pursuant to the Court’s Second Docket Control Order (Dkt. 62), Plaintiff Firtiva

  Corporation and Defendant Funimation Global Group, LLC (together, the “Parties”) hereby submit

  this Joint Notice Regarding Mediation.

         The Second Docket Control Order requires the Parties to “file a Joint Notice indicating

  whether the case should be referred for mediation” and “whether they have a mutually agreeable

  mediator for the Court to consider.” Dkt. 62 at 6.

         The Parties agree that this case may benefit from mediation. The Parties have agreed to

  work together in good faith to schedule mediation at a mutually agreeable time. As part of that

  process, the Parties will endeavor to select a mutually agreeable mediator by the end of the day on

  January 28, 2022 and will promptly notify the Court upon selection of a proposed mediator.
Case 2:21-cv-00111-JRG-RSP Document 67 Filed 01/18/22 Page 2 of 3 PageID #: 1103




  Date: January 18, 2022       Respectfully submitted,

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Case 2:21-cv-00111-JRG-RSP Document 67 Filed 01/18/22 Page 3 of 3 PageID #: 1104




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                                                  Funimation Global Group, LLC



                                    CERTIFICATE OF SERVICE


          The undersigned certifies the foregoing document was filed electronically in compliance

  with Local Rule CV-5(a). As such, this document was served on all counsel who have consented

  to electronic service on this 18th day of January 2022.



                                                           /s/ Andrea L. Fair



                                CERTIFICATE OF CONFERENCE

          I certify that, pursuant to Local Rule CV-7(i), counsels for Plaintiff Firtiva Corporation and

  Defendant Funimation Global Group, LLC have complied with the meet and refer requirement of

  the Court and are jointly filing this notice.



                                                           /s/ Brian R. Michalek w/permission Andrea
                                                           L. Fair



                                                     -3-
